  Case 17-60631       Doc 61    Filed 09/26/19 Entered 09/26/19 15:29:22                    Desc Main
                                  Document     Page 1 of 1


                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA
In RE:
         TRACY A. HAZELTON,                                Case No.: 17-60631
         NATALIE L. HAZELTON,                              Chapter 7
                            Debtors.

       David G. Velde, the Trustee in this matter, filed a Notice of Sale, Abandonment, Lease or
Settlement on August 16, 2019. No objections were filed. Based upon all records herein,

         IT IS ORDERED:

         1.    The Trustee’s Notice of Sale, Abandonment, Lease or Settlement is approved.

         2.    The bankruptcy estate’s interest is abandoned with respect to the following
               companies in which the Debtor has, or had, an interest, and the loans the Debtors
               gave to the companies:
               a.     H&H Transport, LLC, listed as insolvent on the day of the bankruptcy filing
                      with no value;
               b.     Hazelton Land Co., LLC, listed as insolvent on the day of the bankruptcy
                      filing with no value; and
               c.     H&S Contracting, Inc., which had ceased operations before the bankruptcy
                      filing and listed as having no value.

Dated: September 26, 2019

                                                     /e/ Michael E. Ridgway
                                                    ________________________________
                                                    Michael E. Ridgway
                                                    Chief United States Bankruptcy Judge




                                                             NOTICE OF ELECTRONIC ENTRY AND
                                                             FILING ORDER OR JUDGMENT
                                                             Filed and Docket Entry made on 09/26/2019
                                                             Lori Vosejpka, Clerk, by AMM
